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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT COLUMBIA


                                  )
GOLD RESERVE INC.,                )
                                  )
                                  )
               Petitioner,        )
                                  )
          v.                      )                      Civil Action No. 1:14-cv-02014-JEB
                                  )
BOLIVARIAN REPUBLIC OF VENEZUELA, )
                                  )
               Respondent.        )
                                  )

               ASSENTED-TO MOTION FOR ADMISSION PRO HAC VICE
                         OF ANDREW B. LOEWENSTEIN

       Lawrence H. Martin, Esq. (“Sponsoring Counsel”), counsel for respondent Bolivarian

Republic of Venezuela (“Venezuela”) in the above-captioned matter, moves pursuant to Local

Civil Rule 83.2(d) that Andrew B. Loewenstein, Esq. (“Attorney Loewenstein”), be granted

leave to appear and practice in this Court on behalf of Venezuela in the above-captioned action.

As grounds for this motion, Sponsoring Counsel states the following:

       1.      Sponsoring Counsel is a member of the bar of this Court and serves as counsel for

Venezuela in this matter.

       2.      Attorney Loewenstein is a partner in the firm of Foley Hoag, LLP, with his office

located at 155 Seaport Boulevard, in Boston, Massachusetts.

       3.      Attorney Loewenstein is a member in good standing of the bars of the

Commonwealth of Massachusetts, the United States District Court for the District of

Massachusetts, the United States Court of Appeals for the First Circuit, and the United States

Court of Appeals for the Tenth Circuit.
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       4.      Attorney Loewenstein has not been disciplined by any bar in any jurisdiction, nor

are disciplinary proceedings pending against him by any bar in any jurisdiction.

       5.      Attached hereto as Exhibit A is the Declaration of Andrew B. Loewenstein, Esq.

in Support of Motion for Admission Pro Hac Vice.

       6.      Counsel for Petitioner has assented to this motion.



       WHEREFORE, Sponsoring Counsel requests that Andrew B. Loewenstein, Esq. be

granted leave to appear and practice on behalf of Venezuela in the above-captioned litigation.

                                                      Respectfully submitted,

                                                       /s/ Lawrence H. Martin
                                                      Lawrence H. Martin (D.C. Bar # 476639)
                                                      lmartin@foleyhoag.com
                                                      Janis H. Brennan (D.C. Bar # 412100)
                                                      jbrennan@foleyhoag.com
                                                      FOLEY HOAG LLP
                                                      1717 K Street, N.W.
                                                      Washington, D.C. 20006
                                                      Telephone: (202) 232-1200
                                                      Facsimile: (202) 785-6687
Dated: July 31, 2015


                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

and paper copies will be sent to those indicated as unregistered participants on July 31, 2015.


                                                       /s/ Lawrence H. Martin
                                                      Lawrence H. Martin




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